
USCA1 Opinion

	














                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1099

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                    DAVID CUDLITZ,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                           Selya and Boudin, Circuit Judges,
                                             ______________

                              and Lisi,* District Judge.
                                         ______________

                                 ____________________

            Kimberly Homan  with  whom Sheketoff  &amp;  Homan  was on  brief  for
            ______________             ___________________
        appellant.
            Robert E. Richardson, Assistant United States Attorney, with  whom
            ____________________
        Donald K. Stern,  United States Attorney, was on brief  for the United
        _______________
        States.


                                 ____________________

                                   January 8, 1996
                                 ____________________


                            
        ____________________

        *Of the District of Rhode Island, sitting by designation.















                 BOUDIN, Circuit  Judge.   David Cudlitz was  indicted in
                         ______________

            July  1993 and  charged  in four  counts, respectively,  with

            conspiracy  to commit  arson, 18  U.S.C.    371, arson,  id  

            844(i),  mail fraud, id.   1341, and  use of fire to commit a
                                 ___

            felony, id.    844(h).  In substance,  the government alleged
                    ___

            that in  1992  Cudlitz,  in  order to  obtain  the  insurance

            proceeds,  arranged  to  have  set on  fire  an  unprofitable

            apartment building  he  owned at  7 Salisbury  Street in  New

            Bedford, Massachusetts.  Cudlitz was tried by a jury in March

            1994.

                 At trial, the government  offered the testimony of three

            individuals--Craig   Santos,   Harold  Burnham,   and  Daniel

            Cornell--who in the summer and early fall of 1992 were living

            as tenants at another apartment  building owned by Cudlitz in

            New  Bedford located at 89  Austin Street.   These three, and

            Cornell's brother  David Vieira, who also  testified, did odd

            jobs  for Cudlitz  in the  various buildings  he owned.   All

            except Burnham had criminal records, and Burnham drank a good

            deal.

                 Cornell testified that in late August or early September

            1992, Cudlitz twice  asked Cornell to set  7 Salisbury Street

            on  fire, but he (Cornell) refused.  Vieira testified that in

            early  September Cudlitz  made similar  requests of  him and,

            when he refused, asked whether Santos and Burnham would do it

            and later  said he  was  going to  ask them  to  do the  job.



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            Vieira  also   testified  that  he  vandalized   one  of  the

            apartments at Cudlitz' request prior to the fire.  Santos and

            Burnham both testified that Cudlitz had requested them to set

            the  fire  and that  they  had agreed  to  do  so for  $1,500

            (according to Santos) or $1,000 (according to Burnham).

                 Santos and Burnham testified that they did set  the fire

            at 7 Salisbury Street  on the evening of September  18, 1992,

            starting  it with gasoline spread  in the attic  and down the

            back  stairs.  The  fire department put  out the  fire in the

            attic, confining  the damage;  the fire captain  testified to

            smelling  the odor  of a  flammable liquid.   There  was also

            testimony  that  the  following  day  Cudlitz  complained  to

            Burnham  and Santos  that they had  not done a  good job, and

            that he then  set Vieira to vandalizing the third  floor of 7

            Salisbury Street to increase the damage.

                 Eventually,  Cudlitz collected  on insurance  claims for

            both the  fire  and the  vandalism.   Thereafter, Santos  and

            Burnham  moved into  7 Salisbury  Street but  were eventually

            evicted by Cudlitz when  Santos stole some property  from the

            basement.   Later Santos, interviewed in  connection with the

            fire, admitted his role.   He and Burnham were  both indicted

            with  Cudlitz,  although only  on  the  conspiracy and  arson

            counts,  and  both  pled  guilty  in  exchange  for  possible

            leniency for cooperating with the government.  





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                 Cudlitz testified in his own defense.   He flatly denied

            that  he had ever solicited either the arson or the vandalism

            at 7  Salisbury Street;  he claimed  a net  worth of  over $1

            million, although  he admitted  on  cross-examination that  7

            Salisbury Street was not currently profitable because largely

            vacant; and  he gave  testimony, described at  greater length

            below, indicating that  he had not previously staged an arson

            or  ever before filed an  insurance claim for  fire damage on

            any property he owned.

                 The  jury  convicted Cudlitz  on  all four  counts.   In

            December 1994, Cudlitz  was sentenced to 36 months  in prison

            on the first  three counts, and a  mandatory consecutive term

            of 60 months on the  final count.  He now  appeals, conceding

            the  sufficiency of  the evidence  but raising  several other

            claims of error.   Three of them, all complicated,  relate to

            questions allowed on cross-examination of Cudlitz; the others

            concern the trial court's instructions.

                                          I.

                 Cudlitz asserts  first that the district  court erred by

            allowing the prosecutor to cross-examine him about an alleged

            prior  attempt  to  solicit  arson.    The  critical  set  of

            questions, which the court permitted the prosecutor to ask in

            three different  versions  and over  Cudlitz' objection,  was

            whether  Cudlitz  had in  1991  solicited  one Ron  Wallace--

            another tenant who  was then doing  odd jobs for  Cudlitz--to



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            burn down another one of Cudlitz'  buildings.  Cudlitz denied

            doing so  and,  apart from  some follow-up  cross-examination

            described below, the government made  no attempt to prove the

            solicitation.  

                 The  rules  governing  this  subject--cross-examining  a

            criminal  defendant about  prior wrongs--are  among the  most

            complex and confusing  in the  entire law of  evidence.   The

            main  reason is that they represent not a logical pattern but

            a  series of ad hoc  accommodations arrived at  by the common

            law  over the  course of  centuries in  dealing (differently)

            with several  related problems.    Worse  still, the  Federal

            Rules  of Evidence  have retained  the common  law structure,

            with a few modifications, but expressed it in four  different

            rules--Fed.   R.  Evid.   404,   405,   608  and   609--whose

            relationship and content are not models of clarity.

                 Cudlitz' main complaint is that there was no "basis" for

            allowing the  questions in  dispute, but two  different bases

            support the  questions.   Ordinarily,  the government  cannot

            elicit  evidence of prior similar  bad acts to  show that the

            defendant  has a propensity to  commit such acts  and is thus

            more  likely to have committed  the crime now  charged.  Rule

            404(a).  But this rule against so-called "character evidence"

            by the  prosecutor is waived  where the defendant  chooses to

            offer "good"  character evidence in  his own  defense.   Rule

            404(a)(2).



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                 Cudlitz did  offer such  evidence here by  testifying on

            direct  examination  that,  when  previously  faced  with  an

            unprofitable  business venture,  he  had dutifully  paid  his

            debts  and   had  not  had  any  fire   connected  with  that

            enterprise, nor made a claim for insurance for fire damage on

            any other of his properties.  In effect, Cudlitz was offering

            evidence  of good  character by  showing, quite  pertinently,

            that he lacked the propensity  to commit arson and  insurance

            fraud in  inviting circumstances.  Under  Rule 404(a)(2), the

            government  was therefore  entitled  "to rebut  the same"  by

            seeking to elicit evidence of bad character.

                 Cudlitz' good  character evidence  was improper in  form

            since the rules limit the proponent to offering an opinion or

            reputation   witness  rather  than   testifying  to  specific

            instances  or events,  as  Cudlitz did  in  denying any  past

            occurrence.    Rule 405(a).    But  the  detail  simply  made

            Cudlitz' testimony more effective  for him.  The government's

            attempt  to rebut  by asking  Cudlitz about a  specific prior

            arson  attempt   was  within  the  rules;   for  "[o]n  cross

            examination,  inquiry  is  allowable  into  relevant specific

            instances of conduct."   Rule  405.  E.g.,  United States  v.
                                                 ____   _____________

            West, 58 F.3d 133, 141 (5th Cir. 1995).
            ____

                 Alternatively, the question as to the prior arson can be

            justified  on  a  theory  of  impeachment  by  contradiction.

            Before  asking  about the  specific  attempt  to solicit  Ron



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                                         -6-















            Wallace to commit arson in 1991, the prosecutor asked without

            objection whether Cudlitz had ever solicited anyone to commit

            arson, and  Cudlitz said  that he  had not.   When  a witness

            testifies to a fact, he may--subject to certain limitations--

            be cross-examined to elicit testimony contradicting his prior

            testimony  for the purpose of  showing that the  witness is a

            liar  and should not be  believed.  United  States v. Havens,
                                                ______________    ______

            446 U.S. 620, 627 (1980);  United States v. Perez-Perez,  No.
                                       _____________    ___________

            94-1781, slip op. at 7 (1st Cir. Dec. 26, 1995).1

                 The government and the  district court thought that this

            theory  of  impeachment  is  reflected  in  Rule  608(b),  an

            assumption that  is shared by  some courts.  But  Rule 608 is

            centrally concerned  with character  for veracity, a  mode of

            accrediting or discrediting the witness  that is based on the

            same "propensity"  reasoning of Rule  404 but  is subject  to

            quite  different  rules.   Rule  608  permits accrediting  or

            discrediting  by   opinion  or  reputation   evidence  as  to

            character   for  veracity,   Rule  608(a),  and,   on  cross-

            examination  only, by  inquiry  into  specific  instances  of

            conduct if  "probative  of truthfulness  or  untruthfulness."
                    __

            Rule 608(b).


                                
            ____________________

                 1There   is   no  Federal   Rule  of   Evidence  labeled
            "impeachment  by  contradiction"  but the  critical  point to
            remember about those rules is that they treat selected topics
                                                          ________
            and even  then sometimes only  selectively.   Several of  the
            most familiar  modes of impeachment  (e.g., bias,  prejudice,
                                                  ____
            interest, corruption) are never mentioned.

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                 At  common law,  the quoted  restriction was  not always

            included, but Rule 608  deliberately narrowed type of conduct

            allowed.  Thus, Cudlitz  might have been cross-examined under

            Rule  608(b) as to prior instances of forgery or perjury; but

            soliciting  arson, although showing  bad character generally,

            is not "probative  of  . .  . untruthfulness."2  But  neither

            does  Rule 608(b) prohibit the questions so long as they were

            justified   on   another  basis.      Here,   impeachment  by
                             _______

            contradiction was such a legitimate basis.  Perez-Perez, slip
                                                        ___________

            op. at 6-7.

                 Cudlitz objects  that  the  government  was  seeking  to

            contradict  a denial  (of  prior solicitations)  that it  had

            itself improperly elicited, a practice that we warned against

            in  United States v. Ruiz-Batista, 956 F.2d 351, 352 n.1 (1st
                _____________    ____________

            Cir.), cert. denied, 113 S. Ct.  105 (1992).  It is true that
                   _____ ______

            the government's question on cross went marginally beyond the

            scope of the direct.   But we think that the denial  of prior

            solicitations  was very  strongly implied by  Cudlitz' direct

            testimony,  denying  that  he  had  set fires  on  any  other

            occasion.    The  government  may  have  sharpened  the  edge




                                
            ____________________

                 2The government's response,  which is  not without  some
            force,  is that arson may not impugn veracity; but that arson
            in aid of insurance fraud would do so and that such fraud was
            implicit  where  the  building  was owned  by  the  arsonist.
            Compare  United States v.  Wilson, 985 F.2d  348, 351-52 (7th
            _______  _____________     ______
            Cir. 1993).  We need not resolve the issue here.

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                                         -8-















            slightly but  Cudlitz himself  proffered the weapon.   United
                                                                   ______

            States v. Eaton, 808 F.2d 72, 75-76 (D.C. Cir. 1987).
            ______    _____

                 Cudlitz  asserts that  the  questions should  have  been

            barred under Fed.  R. Evid.  403 because the  risk of  unfair

            prejudice greatly  outweighed probative  value.  The  risk of

            prejudice was certainly real  but, given Cudlitz' own attempt

            to portray himself  as a businessman of upright character who

            had never resorted to arson or insurance  fraud, allowing the

            questions was not an abuse of the broad discretion enjoyed by

            the  district judge.   United  States v.  Mateos-Sanchez, 864
                                   ______________     ______________

            F.2d  232, 235-36  (1st Cir.  1988).   Nor do  we agree  with

            Cudlitz  that the evidence sought  to be elicited  was in any

            way made superfluous by the direct testimony against him.

                 Finally,   Cudlitz   appears   to   attack   the  prior-

            solicitation question at its foundation.  As he suggests, the

            government  surely knew  that  Cudlitz would  deny the  prior

            arson solicitation; nor could  it offer extrinsic evidence to

            prove the solicitation if  Cudlitz denied it.  United  States
                                                           ______________

            v.  Innamorati,  996 F.2d  456,  479 (1st  Cir.  1993), cert.
                __________                                          _____

            denied, 114 S. Ct. 1073 (1994).  An  observer might well join
            ______

            Cudlitz'  appeal brief  in asking  how it  could possibly  be

            proper for the government to ask a prejudicial question  that

            it knows will be answered  negatively, that cannot be pursued

            with  extrinsic proof, and that serves only to suggest to the





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            jury (contrary to the  standard instruction) the fact implied

            by the question.

                 The only  answer is  that the cross-examination  of this

            kind is part a system of checks and balances that the law has

            developed  to  caution  a  credulous  jury  against  possible

            perjury.    Thus,  while  the  question  may  be  asked,  the

            government must on demand  supply a good faith basis  for the

            question; the witness may  vigorously deny the suggestion and

            explain the basis for  the denial; with rare exceptions,  the

            government must accept the answer without offering  extrinsic

            evidence;  and the  court  will normally  provide a  limiting

            instruction.    With these  protections,  and  Rule 403,  the

            defendant  must be  content.    As  Justice Jackson  said  in

            Michelson v. United States, 335 U.S. 469, 486 (1948):
            _________    _____________

                 [M]uch of this law is archaic, paradoxical and full
                 of  compromises  and  compensations  by   which  an
                 irrational  advantage to  one side  is offset  by a
                 poorly reasoned counterprivilege to the other.  But
                 somehow  it has  proved a  workable even  if clumsy
                 system  when moderated by discretionary controls in
                 the hands of  a wise  and strong trial  court.   To
                 pull  one  misshapen  stone  out of  the  grotesque
                 structure  is  more  likely  simply  to  upset  its
                 present balance  between adverse interests  than to
                 establish a rational edifice.

                                         II.

                 The most troublesome issue  in the case arises out  of a

            related but distinct series of  questions asked of Cudlitz on

            cross-examination.   The  questions  began as  the prosecutor

            laid the groundwork for asking Cudlitz whether he had earlier



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            solicited Wallace to set fire to 212 State Street.   He first

            asked Cudlitz  whether one Joe Camara  had introduced Wallace

            to Cudlitz at 212  State Street and Cudlitz responded:   "Ron

            Wallace lived in the house.  He lived in --  he lived -- yes,

            he did."  

                 The  prosecutor then  asked, "So  you knew  Ron Wallace,

            correct?"  and  Cudlitz  replied,  "No,  I  didn't  know  him

            really."  There followed some  questions aiming to show  that

            Wallace had  done work at  the building for  Cudlitz; Cudlitz

            said that he thought Wallace was helping Joe Camara clean out

            the yard  at 212 State Street,  a task for which  Cudlitz was

            paying Camara.  The  prosecutor then asked--over  objection--

            "Had you  ever heard as of  that time [summer  1991] that Mr.

            Wallace had been arrested on charges of arson?"

                 Cudlitz said "no" and  the prosecutor then followed with

            three questions, earlier mentioned, which in  substance asked

            Cudlitz whether he had twice solicited Wallace to set fire to

            212 State Street, whether one of these requests had been made

            in  Camara's  apartment,  and  whether  Cudlitz  had  offered

            Wallace $2,500 to do the job.  When  Cudlitz answered "no" to

            each accusation, the prosecutor proceeded as follows:

                 Q    Do you know where Ron Wallace it [sic] today, sir?

                      MR. LEE:  Objection, please, your Honor.

                      THE COURT:  Overruled.

                 A    No, I don't.



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                 Q    Have you ever  heard that Ron Wallace  is

                      down in Plymouth County --

                      MR. LEE:  Objection, your Honor.

                      THE COURT:  Overruled.

                 Q    In the Plymouth House of Corrections?

                 A    No, I didn't know that.

                 Q    Did you  ever hear  that Mr.  Wallace had

                      pled  guilty  to a  charge  of  arson and

                      conspiracy to commit arson?

                      MR. LEE:  Objection, please, your Honor.

                      THE COURT:  Overruled.

                 A    No, I haven't.

                 Q    At no time have you ever heard that?

                 A    No.

                 On this appeal, Cudlitz says  that the cross-examination

            as to  Wallace's whereabouts  and prior arson  conviction was

            error.  The  government says it was  not.  It argues  further

            that  at trial  Cudlitz  made no  specific  objection to  the
                                              ________

            questions--that is,  that the objections did  not state their

            precise legal basis--so that the highly forgiving standard of

            plain error  governs.   Finally the  government says  that if

            error occurred  it was harmless, given  the cumulative weight

            of  the evidence  against Cudlitz.   We  address these  three

            issues in the same order.





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                 Resolving the first issue,  we conclude that this branch

            of the cross-examination  should not have been allowed.   The

            questions  on  their face  suggested  that,  at the  time  of

            Cudlitz'  trial  in 1994,  Wallace  was then  serving  a jail

            sentence  for arson  and conspiracy  to commit  arson.   This

            suggestion in  turn lent credence  to the  far more  damaging

            suggestion that in 1991 Cudlitz had solicited Wallace to burn

            down  212 State Street.  Some jurors could have believed that

            Wallace's current jail sentence was for the 1991 arson effort

            allegedly involving  Cudlitz; others, that  at least  Wallace

            was  an  arsonist and  so more  likely  than otherwise  to be

            plotting arsons with Cudlitz.

                 None  of  this might  matter  if  the questioning  about

            Wallace's whereabouts  and arson conviction had  been proper.

            But even  with time to  reflect, the  government offers  very

            little  basis for the questions.   Its main  argument is that

            Cudlitz,  in  the  lead-up  to the  disputed  questions,  was

            seeking "to distance himself  from Wallace."  Therefore, says

            the government, "it was  appropriate to find out  whether the

            defendant at  least  knew Wallace  well  enough to  know  his

            background," i.e.,  that he was charged  and later imprisoned
                         ____

            for arson.

                 In fact,  Cudlitz admitted  at the  outset that  he knew

            Wallace, that Wallace lived in his building and  that Wallace

            was helping Camara on  a task that Camara was  performing for



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            Cudlitz.   True, Cudlitz implied that he did not know Wallace

            well; but  the questions  about knowledge of  Wallace's arson

            and jailing  would not have proved  a close acquaintanceship.

            Far more important, the arguable but very slight relevance of

            the  questions  can hardly  be  compared  to the  substantial

            prejudice they were capable  of inflicting, so they certainly

            could not have passed the test of Rule 403 on this excuse. 

                 The  government  also  says  that   "had  the  defendant

            admitted to knowing Wallace well enough to know that he ended

            up in custody  after pleading guilty  to arson charges,  that

            would  have helped  to explain  why  the defendant  turned to

            people such as  Cornell, Vieira, Santos, and  Burnham when he

            decided to have the Salisbury Street property burned."  There

            are  various  problems  with  this  explanation  but  one  is

            sufficient.  Cudlitz  was asked  whether he knew  in 1991  of

            Wallace's arrest and  his incarceration as of 1994; but there

            was  no indication whether Wallace  was in jail  in 1992 when

            the fire at Salisbury  Street occurred, and that is  the only

            date relevant to the choice of accomplices.

                 Defense  counsel  objected  to   virtually  all  of  the

            questions at issue as to  Wallace's location and prior crimes

            but gave no reason.  The government argues that the questions

            are  therefore to  be  reviewed only  under  the plain  error

            doctrine.   Fed.  R.  Evid. 103(a)(1)  does require  that the

            specific ground be  stated, "if the  specific ground was  not



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            apparent  from the context."  Here, we think that the central

            objections--arguable   irrelevance    and   certainly   undue

            prejudice--were obvious.  Indeed, Cudlitz' counsel had  begun

            the morning by making those objections to the more defensible

            question about  Cudlitz' alleged  solicitation of Wallace  to

            commit arson.

                 Accordingly, we  think that  the questions at  issue are

            fairly tested under the harmless  error doctrine, and not  by

            the more  demanding requirements of  plain error.   Under the

            harmless error doctrine, cf.  Kotteakos v. United States, 328
                                     ___  _________    _____________

            U.S. 750, 776 (1946), we are  instructed to ask whether it is

            "highly probable" that  the error did not  "contribute to the

            verdict."  E.g., United States v. Rullan-Rivera, 60 F.3d  16,
                       ____  _____________    _____________

            18-19 (1st Cir. 1995).  The  greater the likely impact of the

            error,  the harder it is to  find harmless error; conversely,

            the  greater the  weight of  the other  evidence  against the

            defendant,  the less likely it  is that a  given error swayed

            the jury.3

                 Thus to frame the issue only compounds our dilemma.  The

            evidence against Cudlitz was substantial: four witnesses said

            that Cudlitz had solicited  them to set the fire;  and two of

            them, Santos and  Burnham, said  they had done  so, and  been

                                
            ____________________

                 3This gloss is hardly  a precise standard but Kotteakos,
                                                               _________
            while repeatedly  reaffirmed  as the  governing standard  for
            claims for  non-constitutional error, e.g., United  States v.
                                                  ____  ______________
            Lane,  474 U.S. 438 (1986), has rarely been elucidated by the
            ____
            Supreme Court.

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            paid by Cudlitz.   The same witnesses, and the  girlfriend of

            one of  them, testified  to incriminating statements  made by

            Cudlitz after  the fire, and the  government offered evidence

            of financial motive.   Further, at  the time they  admittedly

            set  the fire,  Santos and  Burnham were  on good  terms with

            Cudlitz; any hint of blackmail arose only later.

                 But the  only four  real witnesses against  Cudlitz were

            linked together;  each had a criminal  record except Burnham,

            who  drank to excess;  and by  the time  of trial  Santos and

            Burnham had multiple reasons for hostility.  Cudlitz took the

            stand, flatly  denied the  allegations, and testified  to his

            own  record  as  an  honest businessman  with  a  comfortable

            financial  base.   There was no  hard evidence  that directly
                                         __

            inculpated Cudlitz.   The case  was in essence  a credibility

            contest between Cudlitz and four quite dubious witnesses, who

            told   generally   consistent    stories   but   with    some

            discrepancies.

                 Under these circumstances,  it would have  been easy--if

            not strictly fair--for the jury to have given great weight to

            the  suggestion that  Cudlitz had  previously sought  to have

            Wallace burn down a different building he owned.  Of  course,

            the  jury  was  told  that  the  lawyer's  questions  are not

            evidence, although  not  contemporaneously.   But  the  sting

            survives  such   instructions,  which  is   why  lawyers  ask

            impeaching questions  that they  know  will produce  denials.



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                                         -16-















            That  is just why the  government in this  case asked Cudlitz

            whether in 1991 he had  asked Wallace to burn down  212 State

            Street.

                 If  that  line of  questions  had been  error,  we would
                     ____

            easily say  that it  was not harmless.   The jury  could well

            have  had trouble deciding who to believe about the 1992 fire

            for which  Cudlitz  was  on trial,  but  found  those  doubts

            resolved  when it learned,  or thought  it had  learned, that

            Cudlitz  had been  involved in  a 1991  attempt to  burn down

            another  building by  employing  another tenant  as henchman.

            Yet as the  questions that carried that implication  were not

            error, we are left to ask what was added  to that implication
                                               _____

            by the related questions  at issue concerning Wallace's arson

            conviction and jailing.       The  answer  is  impossible  to

            quantify, but  we think that  the additional effect  may well

            have  been more than trivial.   The case  being a credibility

            contest, the  suggestion that Cudlitz  had previously engaged

            in  the   same  conduct  was  quite   dangerous  to  Cudlitz,

            especially  given his prior claim  to a blameless  past.  But

            the  suggestion  was flatly  denied,  the  government had  to

            accept the answer, and the jury  was to be told in due course

            that the  statements of  lawyers  were not  evidence.   Quite

            possibly, despite the detail in the questions about the prior

            solicitation, the jury would in doubt have put the suggestion

            aside.



                                         -17-
                                         -17-















                 The doubt could  well have been  removed by the  further

            suggestion  that  Wallace  had  actually  been convicted  for

            conspiracy  and arson and was  now in jail  for those crimes.

            Cudlitz  did not  deny  these  further  facts, but  only  his

            knowledge of them; and the jury could fairly suppose that the

            prosecutor  would   not  make  statements  as   to  Wallace's

            conviction  and jailing without actual  knowledge.  By any of

            several  inferences--we have already  given two examples--the

            jury  could  have  thought  that  these  new  facts  made  it

            substantially more likely that Cudlitz had solicited  Wallace

            to commit an earlier arson.

                 No one  knows what reasoning  the jury actually  used in

            convicting Cudlitz,  nor have we any doubt  that a reasonable

            jury  could have  convicted Cudlitz  on this  record even  if

            Wallace's name had never been mentioned.  But the jury, which

            deliberated for two  days, apparently did not view the matter

            as open and shut.  And under  the harmless error doctrine, we

            can uphold the conviction, in the teeth of an error preserved

            by  a  timely  objection,  only  where we  think  it  "highly

            probable"  that the  error played no role in  the conviction,

            that is to  say, that  the result would  have been  identical

            regardless of  the error.  Roullan-Rivera, 60  F.3d at 18-19.
                                       ______________

            Given the  potential impact of  the error, and  the questions

            that the jury could  legitimately have about the government's

            proof, we cannot with confidence so conclude in this case.



                                         -18-
                                         -18-















                 It is a shame that a lengthy trial should now have to be

            repeated  because of questions  totaling less than  a page of

            transcript,  all of  which  resulted in  exculpatory denials.

            But  impeachment  by  questions  about prior  crimes  can  be

            devastating, and when the prosecutor embarks on their use, he

            or she has  to take special  care to  keep the questions  and

            devastation within bounds.  Doubtless the temptation to press

            an advantage is harder to resist where,  as here, credibility

            is the  key  to the  case  and "hard"  evidence of  guilt  is

            absent.  But that is just why the harmless error argument has

            failed in this instance. 

                                         III.

                 We  address here,  and  in part  IV, several  additional

            claims that--although not determinative of this appeal--could

            affect the retrial.  Cudlitz next complains about  the cross-

            examination of defense witness Albert Raposo,  a construction

            contractor,  who testified  on  direct that  he had  provided

            Cudlitz  with an estimate of the fire and vandalism damage at

            the  Salisbury Street  building.   On  cross-examination, the

            prosecutor  began to  question  Raposo about  whether he  had

            offered Cudlitz advice  on how best to  create the appearance

            of vandalism in order to collect insurance proceeds.  Defense

            counsel objected  that no good  faith basis existed  for this

            inquiry, but  after a bench  conference and proffer  from the





                                         -19-
                                         -19-















            prosecutor the judge  allowed the  questions without  further

            defense objection.

                 The  relevant portion  of  the cross-examination  was as

            follows:

                 Q:   Did you ever give  Mr. Cudlitz advice  on
                      how   to  cause  damage  to  7  Salisbury
                      Street?

                 A:   No, sir.

                 Q:   Did you ever  give Mr. Cudlitz advice  on
                      how  to  best  try  to  make--create  the
                      appearance that vandalism had been done?

                      MR. LEE:   Objection your honor.   May we
                      approach the bench?

                      THE COURT:  Yes.

                      [BENCH CONFERENCE OMITTED]

                 Q:   Mr.  Raposo,   did  you  ever   give  the
                      defendant  advice on how  to cause damage
                      in 7 Salisbury  Street to make  it appear
                      that vandalism had been done there?

                 A:   No, sir.

                 Q:   Did you ever tell the defendant in  words
                      or substance that  it wasn't enough  just
                      to rip up  rugs, because that  might just
                      look like something a tenant  had done in
                      leaving the building?

                 A:   No, sir.

                 Q:   Did you ever tell  the defendant in words
                      or  substance that to  collect money from
                      the  insurance  company  you  had  to  do
                      things like break plumbing fixtures?

                 A:   No, sir.

                 On appeal,  Cudlitz again  asserts lack of  a good-faith

            basis  and,  in addition,  contends  that  no proper  purpose


                                         -20-
                                         -20-















            existed for allowing  this line  of questions.   Because  the

            defense  did not  renew  its good-faith  objection after  the

            prosecutor's  proffer  and  the  trial  court's  ruling,  and

            because  no  other  objections  were  raised  at  trial,  the

            government  urges that we limit review to plain error.  Since

            the lack of a good faith basis was the only ground offered by

            Cudlitz for excluding  the questions, we  agree that this  is

            the  standard   for  judging  any  other   objection  to  the

            testimony.

                 Here, the  government offers two  different grounds  for

            permitting the questions,  assuming a good faith basis.   One

            is  that  Cudlitz'  alleged  procurement of  vandalism  at  7

            Salisbury Street was an issue in this case.  Vieira testified

            that he was solicited to vandalize one apartment prior to the

            fire  and another one afterwards when  the fire damage proved

            inadequate, and  the government's case treated  the arson and

            vandalism as part of the same effort to defraud the insurance

            company.   The questions  to Raposo  were  pertinent to  this

            showing, although  arguably they were well  outside the scope

            of the direct (an objection not made by Cudlitz).

                 Additionally, the government argues that these questions

            were permissible under Rule  608(b) to impeach Raposo himself

            by  showing  that he  had  participated  in insurance  fraud.

            Here, the alleged  advice was  given by Raposo  for the  very

            purpose of perpetuating such fraud, and thus was allowable in



                                         -21-
                                         -21-















            the trial judge's discretion.   See Wilson, 985 F.2d  at 351-
                                            ___ ______

            52.   It  is not  clear to  us that  Raposo had  given direct

            evidence that  the government needed to  impeach, but Cudlitz

            did  not offer  such  an  objection,  which would  have  been

            pertinent to  the trial court's exercise  of discretion under

            both Rule 403 and Rule 608(b).

                 In sum, reserving the question of a good faith basis, we

            think that the district  court did not commit plain  error by

            allowing the cross-examination.  Here, Cudlitz did not make a

            general objection but a specific one--lack of good faith--and

            the district court had no reason to think that other possible

            lines of  objection were  being urged  by Cudlitz  as obvious

            from  context.    Given  that  none  of  the  other  possible

            objections is  clearly meritorious but only  arguable, we see

            no  basis for  thinking  that any  plain  error, or  manifest

            injustice,  occurred.   United States  v. Olano,  113  S. Ct.
                                    _____________     _____

            1770, 1777-779 (1993).

                 Turning to the question  of good faith basis, the  issue

            is  somewhat closer both as  to the standard  and the result.

            Cudlitz'  counsel clearly  objected that  there was  no "good

            faith basis for these questions," adding that counsel was not

            aware  of   an  connection  between  Raposo   and  any  prior

            government witness.  The government then explained its basis-

            -that Vieira  had told the  government that  an associate  of

            Cudlitz  named "Al" had been present with Vieira and had been



                                         -22-
                                         -22-















            giving advice  on how to vandalize--Cudlitz'  counsel did not

            argue further  the lack of a good faith basis but switched to

            complaining  that no  such statement  had been  given to  the

            defense.

                 Both the  "merits" and  the standard  to apply  are thus

            open  to dispute.    There is  a  pretty good  argument  that

            something more than  a reference to "Al" was warranted before

            allowing the government to ask a highly damaging question; it

            would have been easy enough to have Vieira called to identify

            Raposo  as "Al" outside the presence of the jury.  After all,

            a  good faith basis is  a very important  safeguard to assure

            that such  highly prejudicial questions,  if asked at  all in

            the teeth of a likely denial, are not unfairly prejudicial.
                                                  ________

                 On  the  other hand,  the  district  judge enjoys  great

            latitude  in  deciding whether  a  good  faith basis  exists.

            United  States v. Ovalle-Marquez, 36  F.3d 212, 219 (1st Cir.
            ______________    ______________

            1994), cert. denied,  115 S.  Ct. 1322 (1995).   Perhaps  the
                   ____________

            result might  be different if Cudlitz'  counsel had protested

            that the proffer was inadequate, explaining the basis for his

            doubt  and urging  that at  the very  least Vieira  should be

            summoned.   Here, however, the  trial judge got  no such help

            and might  easily have thought that Cudlitz'  own counsel had

            been satisfied by the proffer and was no longer disputing the

            presence of a good faith basis.





                                         -23-
                                         -23-















                 In all events, our  reversal of the convictions  in this

            case on  other grounds  makes it unnecessary  to decide  this

            "what  if" point definitively.  On any retrial, we think that

            the government ought to make a somewhat stronger showing that

            it has reason  to believe that "Al"  and Raposo are  the same

            person.  We  do not say that we would  reverse on this ground

            on   the  present  record.    But  the  issue  has  now  been

            highlighted  clearly and if  Raposo is "Al,"  then a stronger

            proffer  should be available,  a consideration  that deserves

            some weight in determining how much of a proffer is enough.

                                         IV.

                 Cudlitz' remaining claims all  relate to the absence, or

            alleged  inadequacy, of  cautionary instructions  relating to

            the cross-examination of Cudlitz  and Raposo described in the

            prior sections of this decision.  Cudlitz claims first that a

            sua sponte  cautionary instruction should have  been given as
            __________

            to the  cross-examination of Cudlitz  regarding Ron  Wallace;

            second, that  the final  instructions should have  included a

            requested instruction that the "questions" of counsel are not

            evidence; and finally that such a specific instruction should

            have been given during the cross-examination of Raposo.

                 As Cudlitz himself concedes, the general rule is that  a

            trial judge need not give a cautionary instruction sua sponte
                                                               __________

            at  the  time  that  evidence  of  limited  admissibility  is

            offered.  Fed. R. Evid. 105; United States v. De La Cruz, 902
                                         _____________    __________



                                         -24-
                                         -24-















            F.2d 121, 124 (1st Cir. 1990).  Here, the issue is not one of

            evidence admitted  for a limited purpose; it is a matter of a

            question not being evidence  at all.  But the  situations are

            parallel, and  we think  that while a  cautionary instruction

            would  plainly be  proper at  the time  that the  question is

            asked and denied, its omission is not normally error where no

            such contemporaneous instruction was requested.

                 Cudlitz' argues  with some force that  a standard reason

            why appeals courts do  not insist on such an  instruction sua
                                                                      ___

            sponte  is  the defense  counsel  may have  made  a strategic
            ______

            judgment not to  have the matter highlighted.   Here, Cudlitz

            says,  this reason  has  no application  because his  defense

            counsel  had objected  sharply  to  the cross-examination  as

            highly prejudicial and the government had already highlighted

            the cross-examination by  asking three  times over  questions

            about Wallace's alleged solicitation by Cudlitz.

                 We  nevertheless  reject  Cudlitz' broad-scale  position

            because of the extraordinary importance we attach to the need

            for  a  timely request.   No  one  who lacks  experience with

            litigation can know  how many  things occupy a  judge who  is

            superintending a fast-paced  criminal trial.  Nor  is it easy

            to know without direct experience how sua sponte interference
                                                  __________

            from the trial judge can disrupt counsel's own strategy, even

            when  the purpose  of the  judge is  to  help rather  than to

            hinder.   It is for  these reasons  that we place  such great



                                         -25-
                                         -25-















            stress  on the  presence  or absence  of  the request  for  a

            contemporaneous instruction.

                 It might  well be error in  some cases for the  judge to

            fail to give a cautionary instruction at some point, but that
                                                     __________

            is  hardly the situation here.   The district  court told the

            jury  at the  start that  the questions  of counsel  were not

            evidence; and in his  final charge, the trial judge  told the

            jury  that the statements  and arguments of  counsel were not

            evidence.   United States v. Copelin, 996 F.2d 379, 384 (D.C.
                        _____________    _______

            Cir. 1993), relied upon by Cudlitz as authority for requiring

            a  sua sponte  contemporaneous instruction, was  overruled by
               __________

            United States v. Rhodes, 62 F.3d 1449, 1454 (D.C. Cir. 1995).
            _____________    ______

                 In  the  case  of  Raposo's  cross-examination,  defense

            counsel did ask for a contemporaneous instruction to the jury

            that "the questions of counsel are not evidence."  This court

            has said that the  "better practice" is to give  a cautionary

            instruction  at the time.  United States v. Currier, 821 F.2d
                                       _____________    _______

            52, 56  n. 5 (1st  Cir. 1987).   Whatever one's faith  in the

            capacity of  general instructions to offset harmful evidence,

            the  chance that the instruction will do any good is enhanced

            by offering the caution while the jury has immediately before

            it the question or evidence it  is being told to disregard or

            limit.

                 Although on retrial the  district court should give such

            a  contemporaneous instruction where requested, this omission



                                         -26-
                                         -26-















            would  not standing alone cause  us to reverse  in this case.

            The  district judge did  give the general  instruction at the

            outset  and gave  a  somewhat similar,  although  incomplete,

            instruction at the close; and any damage done by the  lack of

            such an instruction  as to Raposo was dwarfed by the far more

            damaging questions  as to  the Wallace solicitation  where no

            such contemporaneous instruction was requested or given.

                 Finally, on  retrial we encourage the  district court to

            tell the jury, in  closing, that the "questions" of  counsel,

            as well as their statements and  arguments, are not evidence.

            Although an  objection was  properly lodged, we  are doubtful

            that this  omission standing alone would comprise prejudicial

            error, especially  in light  of the district  court's opening

            instruction that questions of counsel  are not evidence.  But

            given the importance of the government's cross-examination in

            this case, we think that the district judge should on retrial

            make  the  closing instruction  as  complete  as possible  by

            including  a  specific  statement  that  the  "questions"  of

            counsel are not evidence.















                                         -27-
                                         -27-















                                      CONCLUSION

                 The  judgment of  conviction is  vacated and  the matter
                                                  _______

            remanded for new trial.
            ________















































                                         -28-
                                         -28-









